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AQ 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:24-ev-01455-KKE

PROOF OF SERVICE
(This section should not be filed with the court untess required by Fed. R. Civ. P. 4 ())

This summons for fname of individual and fitle, if any) E ri KK Ine

was received by me on /dute) ¢| 20 | ZY

AT personally served the summons on the individual at fplace) 3332 234%, AVE 3 EB, Ssammanish
WHA FoR on ida | zz ee wo OF

(1 T left the summons at the individual’s residence or usual place of abode with fame;

, 4 person of suitable age and diserction who resides there,

on (date) , and mailed a copy to the individual's last known address: or

[ | served the summons on fname of individual) , who ts

designated by law to accept service of process on behalf of name of orgemization)

On (dete; ; or
O T returned the summons unexecuted because 5 or
1 Other pspecifv):
> Wi
My feesareS gg” for travel andS “4 R.D for services, for a total of $ ‘68 W270

I declare under penalty of perjury that this information is true.

Date: q/zs| oF G2 Kons £277 69 Zit

rer’s si ignature

UP\Wwery b. Hite. | Poet Serve ,

Prifted name and title

Wo We 12442 St AA korhlnd WA FK034

Server's address \

Additional information regarding attempted service, etc:
